                                       Case 17-80031                 Doc 42              FORM 1Entered 11/28/18 14:52:06
                                                                             Filed 11/28/18                                                                Desc      PagePage
                                                                                                                                                                          1 No:        1
                                                                     INDIVIDUAL ESTATE PROPERTY
                                                                                             of 1RECORD AND REPORT
                                                                                      ASSET CASES

Case No.:                       17-80031                                                                                                          Trustee Name:                        Charles E. Covey
Case Name:                      DELLINGER, JIMMY R. AND DELLINGER, RACHEL M.                                                                      Date Filed (f) or Converted (c):     01/09/2017 (f)
For the Period Ending:          06/30/2018                                                                                                        §341(a) Meeting Date:                02/22/2017
                                                                                                                                                  Claims Bar Date:                     05/30/2017
                                   1                                             2                              3                           4                        5                                     6

                        Asset Description                                  Petition/                   Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                         (Scheduled and                                  Unscheduled                  (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                    Unscheduled (u) Property)                               Value                            Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

Ref. #
1        Single-family home 1208 E. Rouse Avenue                                $70,000.00                                 $0.00                                            $0.00                                      FA
         Peoria Heights, IL - 61616-0000 Peoria 3BR,
         1BA, Single Lot
2        Timeshare Timeshare in Riviera Maya, Mexico                             $5,000.00                                 $0.00                                            $0.00                                      FA
3        2012 Mitsubishi Galant mileage: 50,000                                  $8,000.00                                 $0.00                                            $0.00                                      FA
4        2016 Chrysler Town & Country mileage: 16,000                           $30,000.00                                 $0.00                                            $0.00                                      FA
5        Misc. Household Goods, Furnishings & Jewelry                            $1,000.00                                 $0.00                                            $0.00                                      FA
6        Misc. Consumer Electronics                                               $500.00                                  $0.00                                            $0.00                                      FA
7        Necessary Wearing Apprel                                                 $200.00                                  $0.00                                            $0.00                                      FA
8        2 Dogs                                                                       $0.00                                $0.00                                            $0.00                                      FA
9        Cash                                                                     $100.00                                  $0.00                                            $0.00                                      FA
10       Checking Chase Bank                                                      $300.00                                  $0.00                                            $0.00                                      FA
11       Checkin CEFCU                                                            $600.00                                  $0.00                                            $0.00                                      FA
12       Savings CEFCU                                                               $10.00                                $0.00                                            $0.00                                      FA
13       401(k) Employer                                                         Unknown                                   $0.00                                            $0.00                                      FA
14       Anticipated 2016 Income Tax Refunds Federal &                           $5,000.00                                 $0.00                                         $3,000.00                                     FA
         State


TOTALS (Excluding unknown value)                                                                                                                                                           Gross Value of Remaining Assets
                                                                              $120,710.00                                  $0.00                                         $3,000.00                                 $0.00



Major Activities affecting case closing:
 07/17/2018       TFR was never completed and emailed to UST. Doing so now.
 06/14/2017       CLAIMS REVIEWED


Initial Projected Date Of Final Report (TFR):           07/10/2017                          Current Projected Date Of Final Report (TFR):       07/18/2018                /s/ CHARLES E. COVEY
                                                                                                                                                                           CHARLES E. COVEY
